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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 

In re:
Chapter il
HAIMIL REALTY CORP., Case No. 14-11779 (MEW)

Debtor.
x

 

ORDER AUTHORIZING THE DEBTOR TO OBTAIN
EXIT FINANCING AND GRANTING RELATED RELIEF

Upon the motion of Haimil Realty Corp., the debtor and debtor-in-possession herein (the
‘Debtor”), dated and filed herein on May 18, 2017 (the “Motion”), seeking the entry of an Order,
pursuant to 11 U.S.C. §§ 105(a} and 363(b) of title 11 of the United States Code, authorizing the
Debtor to obtain exit financing of $1,500,000 (the “Exit Financing”) from Millbrook Realty
Capital, LLC (the “Lender’) upon the terms set forth in a certain executed Term Sheet dated May
17, 2017 (the “Term Sheet”, a copy of which was attached to the Motion as Exhibit “A’’), and to
perform its obligations thereunder, and granting related relief; and the Exit Financing hearing
having been sought pursuant to the terms of the Debtor’s First Amended Plan of
Reorganization (the “Plan”); and the Court having entered an Order to Show Cause on May 19,
2017 in connection with the Motion; and it appearing that service was made in accordance with
the Order to Show Cause; and upon the record of the hearing held on May 23, 2017 in connection
with the Motion; and due deliberation having been had thereon; and sufficient cause appearing
therefor, this Court hereby makes the following findings of facts and conclusions of law:

A. The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157(a) and
1334(b).

B. The statutory predicates for the relief sought in the Motion and the basis for the

approvals and authorizations contained in this Order are §§ 105(a) and 363(b) of the Bankruptcy
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Code.
C. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (D) and
(0).
D. Venue of this case and the Motion in this district is proper under 28 U.S.C. §§ 1408
and 1409.

E. Sufficient notice of the relief sought in the Motion has been given, and no further
notice is required. The Debtor has adequately disclosed all material facts necessary to permit the
Court, the Debtor and the Debtor’s creditors to evaluate the merits of the Motion. A reasonable
opportunity to object or be heard regarding the relief requested in the Motion has been afforded to
interested persons and entities.

F, The Debtor has advanced sound business reasons for obtaining the Exit Financing
from the Lender under the terms and conditions set forth in the Term Sheet, and it is a sound
exercise of the Debtor’s business judgment to obtain the Exit Financing on the grounds set forth
in the Motion and pursuant to the Plan.

G. The Term Sheet and any documents memorializing the provisions thereof were
negotiated and entered into in good faith and pursuant to arms’ length bargaining positions by and
between the Debtor and the Lender.

Based upon the forgoing, and after due consideration and good cause appearing therefor,
itis hereby ORDERED AS FOLLOWS:

1. The Debtor is authorized and directed to enter into, execute and deliver to the
Lender, any and all documents, agreements and instruments contemplated by, related to or to be
delivered pursuant to or in connection with the Exit Financing from the Lender, which are

reasonably requested by the Lender to evidence or effectuate any of the transactions or other

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matters contemplated by or set forth in the Term Sheet or this order, upon substantially the same
terms set forth in the Term Sheet, cach as may be amended hereafter from time to time (the
documents, instruments and agreements contemplated by the Term Sheet) without further order of
this Court.

2. The Debtor is further authorized to perform its obligations under the Term Sheet
and to take all actions and execute all documents necessary or appropriate to consummate the
transactions contemplated under the Term Sheet consistent with this Order (collectively, and
including the Term Sheet, the “Exit Financing Documents”) which when consummated, shall
constitute legal, valid, and binding obligations of the Debtor, enforceable against the Debtor, its
successors and/or assigns (including, without limitation, any trustee or other estate representative
in any Chapter 11 case, or subsequent Chapter 7 or Chapter 11 case) in accordance with its terms,
and the Debtor is authorized to pay all (out of Cash Collateral or any other sources) sums which
are necessary or appropriate to the consummation of the transactions contemplated under the Exit
Financing Documents including, without limitation, interest fees, expenses and any other amounts
required or allowed to be paid in accordance with the Term Sheet and loan documents which arise
therefrom.

3. Notwithstanding anything to the contrary contained herein, the Lender’s obligation
to provide Exit Financing shall terminate upon the earliest to occur of (the “Termination Date”) (i)
the date of final indefeasible payment and satisfaction in full in cash of the Exit Financing, and
termination of the Debtor’s obligations under the Term Sheet (i) the consummation of the sale or
other disposition of all or substantially all of the assets of the Debtor, and upon an uncured default
by the Debtor under the terms of the Exit Financing, tmmediately upon delivery of a notice of

default. For the avoidance of doubt, in the event of an uncured default, the Lender shall have no

 
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obligation to return to the United States Bankruptcy Court for the Southern District of New York
(the “Bankruptcy Court”) or any other court in order to obtain relief from the automatic stay prior
to seeking the enforcement of its state law rights and remedies. Any requirement of the Lender to
provide Exit Financing shall be, and is hereby subject to the Debtor conducting a sale of the ground
floor retail unit as contemplated by the Term Sheet and the Plan, and any Exit Financing provided
to the Debtor by the Lender in connection with the Debtor’s real property, commonly known 15
Avenue B (a/k/a 209 East 2" Street), Unit 7, New York, New York (the “Property”), shall not at
anytime be made subject or subordinate to, or made pari passu with, any other Hen, security
interest or claim against the Property, existing as of the date that the Exit Financing under the Term
Sheet is consummated, or created under 11 U.S.C. §§ 363 or 364(d) or otherwise, and shall be
secured by the Property.

4, The automatic stay imposed under 11 ULS.C. § 362(a) shall be, and is hereby
modified as to the Lender to allow implementation of the provisions of this Order without further
notice or order of the Bankruptcy Court.

5. The rights, remedies, powers, privileges, liens, and priorities of the Lender shall not
be modified, altered or impaired by any subsequent order (including, but not limited to any
confirmation order), by any plan or reorganization or liquidation in this case, or any successor
case, without the express consent of the Lender, unless the Exit Financing has been indefeasibly
paid in full in cash and completely satisfied and the commitments in the Term Sheet, as

contemplated herein, been terminated.

 

6. The Court shall retain jurisdiction to enforce the provisions of this Order and the
Exit Financing Documents and to resolve any disputes concerning this Order, the Exit Financing

Documents, the distribution of the loan proceeds or the rights and duties of parties thereunder.

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7. Any mortgage or other security instrument securing the Debtor’s obligations to the
Lender in connection with the Exit Financing is an instrument of transfer under, in connection
with or in furtherance of the Debtor’s confirmed Plan and/or the Order confirming the plan (the
“Confirmation Order”) which shall not be subject to tax under any law imposing a stamp tax,
real estate transfer taxes, mortgage recording tax or similar tax, and, to the extent provided by
i] U.S.C. § 1146(a), if any, shall not be subject to any state, local or federal law imposing
sales tax.

8. This Order may be recorded in the land records in which title to any property of the
Debtor pledged as security in connection with the Exit Financing is registered or recorded. Each
and every federal, state and local governmental agency or department is hereby directed to accept
any and ali documents and instruments necessary and appropriate to consummate the transactions
contemplated by the Exit Financing Documents and this Order.

9. The Debtor is authorized and directed to pay, disburse or reserve, as the case may
be, the distributions provided for under the Plan on account of “Allowed” and/or “Disputed”
“Claims” (as said terms are defined in the Plan) from the proceeds of the Exit Financing at the
closing on the Exit Financing Documents, together with the costs and expenses, if any, of closing
payable by the Debtor.

10. The Debtor, by its counsel, shall hold the balance, if any, of the proceeds of the Exit
Financing not paid or disbursed at the closing in escrow and shall distribute said proceeds only in

accordance with the terms of the Plan.

 

Dated: New York, New York
May 24, 2017
HONORABLE MICHAEL E. WILES
UNITED STATES BANKRUPTCY JUDGE

 
